Case 2:20-cv-13134-LVP-RSW ECF No. 22, PageID.2115 Filed 12/01/20 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES
DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
RUBINGH,
                                             HON. LINDA V. PARKER
      Plaintiffs,
v                                            MAG. R. STEVEN WHALEN

GRETCHEN WHITMER, in her official
capacity as Governor of the State of          APPEARANCE HEATHER S.
Michigan, JOCELYN BENSON, in her                    MEINGAST
official capacity as Michigan Secretary of
State and the Michigan BOARD OF STATE
CANVASSERS,

      Defendants,

CITY OF DETROIT,

      Proposed Intervening Defendant,

ROBERT DAVIS,

      Proposed Intervening Defendant,

DEMOCRATIC NATIONAL
COMMITTEE and MICHIGAN
DEMOCRATIC PARTY,

     Proposed Intervening Defendant.
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Case 2:20-cv-13134-LVP-RSW ECF No. 22, PageID.2116 Filed 12/01/20 Page 2 of 3




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Case 2:20-cv-13134-LVP-RSW ECF No. 22, PageID.2117 Filed 12/01/20 Page 3 of 3




                                APPEARANCE

      Please enter the appearance of Assistant Attorney General Heather S.

Meingast, for and on behalf of Defendants Governor Gretchen Whitmer, Secretary

of State Jocelyn Benson and the Board of State Canvassers in the above matter.

                                            Respectfully submitted,

                                            DANA NESSEL
                                            Attorney General

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Dated: December 1, 2020

                             Certificate of Service

I hereby certify that on December 1, 2020, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.

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